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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     DAVID W. WILSON,                                    Case No. 21-cv-07393-HSG
                                   8                    Plaintiff,                           ORDER OF TRANSFER
                                   9              v.

                                  10     THERESA CISNEROUS, et al.,
                                  11                    Defendants.

                                  12
Northern District of California
 United States District Court




                                  13          Plaintiff, an inmate housed at California Substance Abuse Treatment Facility II

                                  14   (“CSATF”), filed this pro se civil rights action pursuant to 42 U.S.C. § 1983. Plaintiff alleges that

                                  15   CSATF warden Theresa Cisnerous, CSATF, the California Department of Corrections and

                                  16   Rehabilitation, and the Office of Grievance appeals coordinators Zamora and Shaw have violated

                                  17   his constitutional rights by failing to address conditions that put him at risk for contracting

                                  18   COVID-19, such as overcrowding and difficulty maintaining six feet distance between inmates.
                                  19   Dkt. No. 1. The events or omissions giving rise to the claim(s) occurred at CSATF, which is

                                  20   located in Kings County, which lies within the venue of the Eastern District of California. See 28

                                  21   U.S.C. § 84(b). Venue therefore properly lies in the Eastern District. See id. § 1391(b). Neither

                                  22   the complaint’s focus on medical issues nor Plata authorizes venue in this district. Accordingly,

                                  23   IT IS ORDERED that, in the interest of justice and pursuant to 28 U.S.C. § 1406(a), this action be

                                  24   TRANSFERRED to the United States District Court for the Eastern District of California.

                                  25          IT IS SO ORDERED.

                                  26   Dated: 9/29/2021
                                  27                                                     ______________________________________
                                                                                         HAYWOOD S. GILLIAM, JR.
                                  28                                                     United States District Judge
